Case 1:22-cv-08368-PKC Document 13 Filed 11/09/22 Page 1 of 2

UNITED STATES

SECURITIES AND EXCHANGE COMMISSION
100 PEARL STREET, SUITE 20-100
New YorK, NY 10004-2616

 

DIVISION OF
ENFORCEMENT

November ®e2022djourned

From:
FILED BY ECF pple hee 2F 2022
To: Chr ,
Hon. P, Kevin Castel S00 wary /3,a01% ef I2100 fi.
United States District Judge Z
Southern District of New York

Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

 

Re: SEC vy. Scott Lindell, No. 22 Civ. 8368 (PKC) [rel No. 22 Civ. 1346 (PKC)]

Dear Judge Castel:

Plaintiff Securities and Exchange Commission (“SEC”) and Defendant Scott Lindell
(“Lindell”) respectfully write to jointly request the adjournment of the Initial Pretrial Conference
scheduled for November 28, 2022, in this matter, (D.E. 12). Witness testimony and other
evidence in a related criminal trial, scheduled to begin on November 28, may eliminate the need
for some or all discovery in this case on the narrow issues that remain following the Court’s
entry of the parties’ bifurcated consent judgment.

The SEC’s Complaint alleges, among other things, that Lindell—the former Chief Risk
Officer and Chief Compliance Officer of an SEC-registered investment adviser, Infinity Q
Capital Management LLC—~failed to undertake an appropriate investigation as to numerous red
flags while the firm’s founder, James Velissaris, engaged in a fraudulent scheme to inflate the
value of certain assets by over $1 billion. (D.E. 1 at (J 1-7). The SEC’s Complaint further
alleges that Lindell, at Velissaris’s direction, helped Velissaris submit misleading documents to
the SEC staff in response to the SEC’s initial inquiries in this matter and helped Velissaris
mislead the auditor of the Infinity Q mutual fund. (/d. at J 8). The partial consent judgment
resolved certain injunctive relief the SEC seeks but leaves open for later resolution by motion (or
further settlement) the monetary relief and officer-and-director bar the SEC also seeks. (D.E. 10).

Meanwhile, the trial in a related criminal case against Velissaris involving the same
fraudulent scheme, United States v. James Velissaris, 22 Cr. 105, is currently scheduled to begin
on November 28, 2022, before Judge Cote. According to a recent filing by the United States in
that matter:

At trial beginning on November 28, the Government intends to prove this
fraud through, among other things, the testimony of former Infinity Q

 
Case 1:22-cv-08368-PKC Document 13 Filed 11/09/22 Page 2 of 2
Hon. P. Kevin Castel

November 9, 2022
Page 2

employees, Bloomberg employees, the Funds’ auditor and administrator,
investors in the Funds, and employees of the SEC, all of whom were
misled and deceived by the defendant’s criminal conduct.

22 Cr. 105, D.E. 40. Witness testimony and other evidence adduced at the criminal trial may
obviate the need for some or all discovery as to the limited issues remaining in this SEC action.

The parties therefore respectfully request that the Court adjourn the Initial Pretrial
Conference in this matter to a later date, after the conclusion of the Velissaris trial. The parties
can then determine whether they need to take any additional discovery or whether the Velissaris
trial transcript and evidence suffices to permit the parties to resolve the remaining relief in this
case or propose a briefing schedule for the SEC’s motion for remedies.

Respectfully submitted,

D4 _

David H. Tutor
Senior Counsel
Division of Enforcement

ce: Counsel for Defendant (by email and ECF)

 
